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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

JOSE MARIA DECASTRO,                              :
                                                  :    Case No. 1:22-cv-204
                       PLAINTIFF,                 :
                                                  :
       v.                                         :   JUDGE BARRETT
                                                  :
PAM WAGNER, et al.,                               :   MAGISTRATE JUDGE BOWMAN
                                                  :
                       DEFENDANTS.                :


    LAWRENCE COUNTY DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
            PLAINTIFF’S MOTION FOR PROTECTIVE ORDER


       I.      INTRODUCTION

       On May 15, 2023, Plaintiff filed a Motion for Protective Order (Doc. #: 39) (hereinafter,

“Motion”) pursuant to Fed.R.Civ.P. 26(c). Plaintiff requested “this Court to enter a protective order

to stop Defendants from participating in premature discovery that violates the Federal Rules of

Civil Procedure, in order to harass and or unnecessarily burden Plaintiff, to keep personal

information confidential, and any other relief that this Court deems proper.” (Doc. #: 39, PAGEID

#: 468). Attached to Plaintiff’s Motion, and labeled as Exhibit 1, is the Lawrence County

Defendants’ First Set of Requests for Admissions, Interrogatories, and Requests for Production of

Documents to Plaintiff. For the reasons set forth below, the Lawrence County Defendants

respectfully request this Court deny Plaintiff’s Motion.

       II.     LAW AND ARGUMENT

               A. Federal Rule of Civil Procedure 26(c) Standard.

       Parties may generally seek discovery of any “relevant, non-privileged information.” Palma

v. Roman, Civil Action No. 3:16CV-00457-CRS, *2-3 (W.D. Ky. 2017) (citing In re Ohio
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Execution Protocol Litigation, 845 F.3d 231, 236 (6th Cir. 2016) (citing Fed.R.Civ.P. 26(b)(1)).

Federal Rule of Civil Procedure 26(c) permits a party from whom discovery is sought to “move

for a protective order in the court where the action is pending – or as an alternative on matters

relating to a deposition, in the court for the district where the deposition will be taken.” District

courts may, “for good cause,” issue such orders to “protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense * * *.” Fed.R.Civ.P. 26(c). The moving

party bears the burden of demonstrating the alleged harm identified from Rule 26(c)(1) “with a

particular demonstration of fact, as distinguished from stereotyped and conclusory statements.”

Serrano v. Cintas Corp., 699 F.3d 884, 901 (6th Cir. 2012). Thus, vague and conclusory allegations

of confidentiality are insufficient, and the movant must make “a particularized showing that the

information sought is confidential * * *.” Parsons v. Gen. Motors Corp., 85 F.R.D. 724, 726 (N.D.

Ga. 1980). For the reasons set forth below, Defendants respectfully request this Court deny

Plaintiff’s Motion.

               B. Defendants’ First Set of Written Discovery Is No Longer Pending, And As
                  A Result, Plaintiff’s Motion, As Against The Lawrence County Defendants,
                  Is Moot.

       A court may not adjudicate disputes that have become moot. Collier v. Winn, No. 2:10-cv-

12845, *2 (E.D. Mich. 2020) (citing McPherson v. Mich. High Sch. Athletic Assn., Inc., 119 F.3d

453, 458 (6th Cir. 1997) (en banc)). In this case, the email correspondence between the

undersigned counsel and Plaintiff, on or about March 8, 2023, establishes that the written discovery

requests sent to Plaintiff are no longer pending. (See Email Correspondence, attached as Exhibit

1). Specifically, the undersigned counsel told Plaintiff to “disregard the first set of written

discovery that [was] sent” because it will be sent again “when the rule 26(f) report is filed.” (Ex.

1). Therefore, Plaintiff’s Motion should be denied as moot as to the Lawrence County Defendants.




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              C. Plaintiff Failed To Follow The Procedures Set Forth In This Court’s Local
                 Rules And The Judges’ Standing Orders And Has Not Attempted To
                 Resolve The Alleged Discovery Disputes; Thus, His Motion Should Be
                 Denied.

       S.D. Ohio Civ. R. 37.1, entitled “Consultation Among Counsel; Informal Discovery

Dispute Conference,” provides the following:

              Objections, motions, applications, and requests relating to discovery
              shall not be filed in this Court under any provision in Fed. R. Civ.
              P. 26 or 37 unless the parties have first exhausted among themselves
              all extrajudicial means for resolving their differences. After
              extrajudicial means for the resolution of differences about discovery
              have been exhausted, in lieu of immediately filing a motion under
              Fed. R. Civ. P. 26 or 37, any party may first seek an informal
              telephone conference with the Judge assigned to supervise discovery
              in the case.

       Section D of Judge Barrett’s Standing Order provides the following regarding discovery

motions:

              THIS COURT DOES NOT PERMIT DISCOVERY
              MOTIONS, i.e. motions to compel or motions for protective order
              regarding discovery disputes, unless and until counsel use the
              following procedure: Counsel must first attempt to resolve disputes
              by extrajudicial means (required by S.D. Ohio Civ. R. 37.1 * * *).
              This Court defines [extrajudicial means] as requiring counsel to try
              to resolve the matter both in writing and telephonically. If counsel
              are unable to resolve the dispute between themselves, then they must
              contact the Court’s Courtroom Deputy, Krista Zeller * * *, and a
              telephone conference with all counsel and the Court will be
              scheduled as soon as possible.

       Magistrate Judge Bowman’s Standing Order echoes the abovementioned S.D. Ohio Civ.

R. 37.1 and Judge Barrett’s Standing Order and sets forth the following in Section D:

              2. Motions Relating to Discovery: This Court does not allow
              motions relating to discovery until an informal discovery
              conference, as described below, is held.

              3. Informal Discovery Conferences: Pursuant to the Federal and
              Local Rules of Civil Procedure, the parties must exhaust all
              extrajudicial means of resolving discovery disputes before



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               contacting the Court. See Fed. R. Civ. P. 37(a)(2); S.D. Ohio Civ.
               R. 37.1. If counsel’s efforts toward an amicable solution have failed,
               counsel should contact the Courtroom Deputy, Kevin Moser, by
               telephone, in order to schedule an informal conference with the
               Court. Before the conference, counsel should prepare and deliver to
               chambers a brief, no more than 2 pages in length, setting forth
               arguments for or against the requested discovery. * * *

       In this case, Plaintiff alleges that he “attempted in good faith to confer with Defendants’

counsel to resolve this dispute but has been unsuccessful.” (Doc. #: 1, PAGEID #: 468). However,

the only discussion between the undersigned counsel and Plaintiff occurred via email on or about

March 8, 2023. (Ex. 1). In that exchange, the undersigned counsel sent Plaintiff an email stating

“[a]ttached you’ll find the Lawrence County Defendants’ first set of written discovery. A hard

copy is being mailed out today. If you have any questions or concerns, please let me know.”

Plaintiff responded by stating the following:

               I’ve noted your RFPs, but did you mean to send me interrogatories
               (especially these ones)? Sending interrogatories without leave of the
               court before the 26(f) meeting is improper, and these questions are
               mostly requesting things that will be in my initial disclosures or for
               things wholly inappropriate, especially given my claims. Should I
               disregard these, or is there any reason why I shouldn’t file a motion
               for sanctions? I’m considering doing exactly that. Were you
               unaware that you’re out of bounds?

       The undersigned counsel responded shortly thereafter stating that the written discovery

requests were sent under the mistaken belief that a Rule 26(f) report was completed in this case,

but after reviewing the docket, realized one had not been completed. The email further provided

to “disregard the first set of written discovery that [was] sent” because it will be sent “once more

when the rule 26(f) report is filed.”

       After this exchange, Plaintiff never contacted the undersigned counsel regarding any type

of discovery dispute. Plaintiff never specified what discovery requests he had an issue with or what




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he deemed “wholly inappropriate.” Therefore, Defendants maintain that the parties have not

exhausted all extrajudicial means for resolving Plaintiff’s alleged discovery dispute.

       Additionally, Plaintiff did not comply with this Court’s Local Rules, Judge Barrett’s

Standing Order, and/or Magistrate Judge Bowman’s Standing Order. To Defendants’ knowledge,

Plaintiff did not seek an informal telephone conference with either Judge Barrett or Magistrate

Judge Bowman. The record does not reflect that Plaintiff contacted the Court to schedule a

telephone conference with all counsel and the Court or that any brief was prepared and delivered

to chambers setting forth arguments against the requested discovery. Accordingly, because

Plaintiff did not follow the proper procedures regarding his discovery motion, Defendants

respectfully request this Court deny Plaintiff’s Motion.

               D. The Lawrence County Defendants’ First Set Of Written Discovery
                  Requests To Plaintiff Do Not Cause Annoyance, Embarrassment,
                  Oppressions, Or Undue Burden Or Expense, And As A Result, Plaintiff Is
                  Not Entitled To A Protective Order.

       Pursuant to Fed.R.Civ.P. 26(c), a party, or any person from whom discovery is sought, may

move for a protective order. The aforesaid Rule provides that “[t]he motion must include a

certification that the movant has in good faith conferred or attempted to confer with other affected

parties in an effort to resolve the dispute without court action,” and that an order may be issued

“to protect a party or person from annoyance, embarrassment, oppression, or undue burden or

expense * * *.”

       In this matter, Plaintiff claims that the Lawrence County Defendants’ first set of written

discovery requests were “meant simply to harass and embarrass Plaintiff.” (Doc. #: 39, PAGEID

#: 469). Plaintiff further claims that “Defendants make several requests for highly private and

confidential information to embarrass and harass Plaintiff, specifically, Defendants request tax

returns, social security numbers, and private medical records.” (Doc. #: 39, PAGEID #: 471).



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         As evidenced by Defendants’ first set of written discovery requests, which are attached to

Plaintiff’s Motion, Defendants request Plaintiff to describe “all injuries and symptoms, whether

physical, mental, or emotional, [he] experienced as a result of the Lawrence County Defendants’

actions and claim to have been caused, aggravated, or otherwise contributed to by the incident(s)

upon which the Amended Complaint is based.” (Defendants' Interrogatory No. 7). Obviously, if

Plaintiff is not alleging any physical, mental, or emotional damages, the aforesaid Interrogatory is

inapplicable, and Plaintiff could easily explain this in his response. However, it is unclear exactly

what damages Plaintiff is alleging, and if he is claiming physical, mental, and/or emotional

damages, then Plaintiff’s medical records are relevant to this action.

         It was also not unreasonable for Defendants to request Plaintiff’s Social Security Number

(“SSN”). The Amended Complaint alleges that “Plaintiff is a videographer, vlogger, and civil

rights activists [sic] who has been video recording, publishing his recordings” on social media

forums such as YouTube, Facebook, and Instagram since 2020. (Doc. #: 20, PAGEID #: 134, ¶ 9).

Plaintiff stated that “[t]he financial benefits of [his] postings have been an essential economic

support for him.” (Doc. #: 1, PAGEID #: 134, ¶ 9). The Amended Complaint then sets forth causes

of action alleging that the Defendants violated his constitutional rights by impeding his right to

film public officials, conduct and record interviews, and other investigatory filming. Thus, it

logically follows that if Plaintiff cannot do those things, he may be claiming loss of income

damages.1 If Plaintiff is claiming loss of income, then his SSN is relevant.2 Nonetheless, if Plaintiff

believes that his SSN is irrelevant, he is entitled to object to an interrogatory that seeks that


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  The Lawrence County Defendants maintain that the Amended Complaint fails to name John Chapman, Jane Doe,
and Lawrence County as Defendants and fails to set forth any causes of action against the aforesaid Defendants.
However, this issue, as set forth in Defendants’ Motion to Dismiss, remains pending before this Court, and as a result,
it is unclear whether the causes of action set forth in the Amended Complaint are against the Lawrence County
Defendants.
2
  Numerous trial and appellate courts have required civil litigants to disclose SSN in the confines of discovery. Hart
v. Alamo Rent a Car, 959 N.E.2d 15, 2011-Ohio-4099, 195 Ohio App.3d 167, ¶ 10.


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information or provide a partial SSN in response.

       Lastly, “tax returns are not categorically privileged from disclosure in the Sixth Circuit.”

Palma, Civil Action No. 3:16CV-00457-CRS at *5. See also DeMarco ex rel. Bricklayers &

Masons’ Local Union No. 5 v. C & L Masonry, Inc., 891 F.2d 1236, 1240 (6th Cir. 1989) (citing

Credit Like Ins. Co. v. Uniworld Ins. Co., 94 F.R.D. 113 (S.D. Ohio 1982) (tax returns and other

financial information enjoy no special privilege from disclosure)); Catrinar v. Wynnestone Cmtys.

Corp., No. 14-11872, *4 (E.D. Mich. 2015) (citing White v. Michigan Dept. of Human Servs., 2011

WL 1882924, *1 (E.D. Mich. 2011) (“Tax returns are subject to discovery in civil litigation

between private parties.”)). Accordingly, Plaintiff’s arguments that the Lawrence County

Defendants’ written discovery requests are being used to embarrass and harass Plaintiff is meritless

and unfounded.

       III.    CONCLUSION

       For the reasons set forth above, the Lawrence County Defendants respectfully request this

Court deny Plaintiff’s Motion.

                                                     Respectfully Submitted,

                                                     /s/ Cassaundra L. Sark
                                                     Cassaundra L. Sark (0087766)
                                                     215 South Fourth Street
                                                     P.O. Box 725
                                                     Ironton, OH 45638
                                                     (740) 532-4333
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                                                     Counsel for Lawrence County Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the Lawrence County Defendants’

Memorandum in Opposition to Plaintiff’s Motion for Protective Order was provided via the

Court’s electronic filing system (CM/ECF) on the 22nd day of May 2023 and mailed, postage

prepaid, via USPS to the following:

Jose Maria DeCastro
1258 Franklin Street
Santa Monica, CA 90404

                                               /s/ Cassaundra L. Sark
                                               Cassaundra L. Sark (0087766)
                                               Counsel for Lawrence County Defendants




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